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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII

  NALU KAI INCORPORATED, d/b/a
  NAISH SAILS HAWAII,
                                           Civil No. 14-00112-LEK-RLP
        Plaintiff / Counter-Defendant,
  v.

  HAWAII AIRBOARDS, LLC,

        Defendant / Counter-Claimant.


   ORDER GRANTING STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff/Counter-Defendant Nalu Kai Incorporated and Defendant/Counter-

  Claimant Hawaii Airboards, LLC, by and through their respective counsel, entered

  into a Stipulation Of Dismissal With Prejudice (“The Stipulation”).

        Having considered The Stipulation, it is hereby ORDERED, ADJUDGED

  AND DECREED as follows:

        1.     All claims presented by Plaintiff/Counter-Defendant Nalu Kai

  Incorporated in this litigation are dismissed with prejudice.

        2.     All claims and counterclaims presented by Defendant/Counter-

  Claimant Hawaii Airboards, LLC in this litigation are dismissed with prejudice.

        3.     The Parties shall bear their own costs and attorneys’ fees.

        DATED: Honolulu, Hawaii, May 7, 2015.



                                                           /s/ Leslie E. Kobayashi
                                                           Leslie E. Kobayashi
                                                           United States District Judge
